Filed 12/31/20                                                           Case 20-13951                                                                   Doc 1

     Fill in this information to identify your case:

         United States Bankruptcy Court for the:

         ____________________  District of _________________
         Eastern District of California      (State)
         Case number (If known): _________________________ Chapter you are filing under:
                                                           
                                                           ✔ Chapter 7
                                                                    Chapter 11
                                                                    Chapter 12
                                                                    Chapter 13                                                Check if this is an
                                                                                                                                  amended filing


    Official Form 101
    Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               04/20

    The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
    joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
    the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
    Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
    same person must be Debtor 1 in all of the forms.
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.


    Pa rt 1 :     I de nt ify Yourse lf

                                            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    1.    Your full name
           Write the name that is on your
           government-issued picture
                                             Jose
                                            __________________________________________________           __________________________________________________
           identification (for example,     First name                                                   First name
           your driver’s license or          Israel
                                            __________________________________________________           __________________________________________________
           passport).                       Middle name                                                  Middle name

           Bring your picture                Ramirez
                                            __________________________________________________           __________________________________________________
           identification to your meeting   Last name                                                    Last name
           with the trustee.                ___________________________                                  ___________________________
                                            Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                            Jose Israel Ramirez-Hernandez
    2.    All other names you
          have used in the last 8
          years
           Include your married or
           maiden names.




    3.    Only the last 4 digits of                           8    0    1    3
          your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
          number or federal                 OR                                                           OR
          Individual Taxpayer
          Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
          (ITIN)


          Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
Filed 12/31/20                                                                Case 20-13951                                                                                Doc 1
                   Jose Israel Ramirez
    Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                    First Name   Middle Name               Last Name




                                               About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


    4.   Any business names
         and Employer                          
                                               ✔ I have not used any business names or EINs.                      I have not used any business names or EINs.
         Identification Numbers
         (EIN) you have used in                _________________________________________________                 _________________________________________________
         the last 8 years                      Business name                                                     Business name

         Include trade names and
                                               _________________________________________________                 _________________________________________________
         doing business as names               Business name                                                     Business name



                                               _________________________________________________                 _________________________________________________
                                               EIN                                                               EIN

                                               _________________________________________________                 _________________________________________________

                                               EIN                                                               EIN



    5.   Where you live                                                                                          If Debtor 2 lives at a different address:


                                               11107 Pocono Way                                                  _________________________________________________
                                               _________________________________________________
                                               Number     Street                                                 Number     Street


                                               _________________________________________________                 _________________________________________________


                                               Bakersfield                             CA
                                               _________________________________________________
                                                                                                 93306           _________________________________________________
                                               City                            State   ZIP Code                  City                            State   ZIP Code

                                               Kern County                                                       _________________________________________________
                                               _________________________________________________
                                               County                                                            County


                                               If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                               above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                               any notices to you at this mailing address.                       any notices to this mailing address.


                                               _________________________________________________                 _________________________________________________
                                               Number     Street                                                 Number     Street

                                               _________________________________________________                 _________________________________________________
                                               P.O. Box                                                          P.O. Box

                                               _________________________________________________                 _________________________________________________
                                               City                            State   ZIP Code                  City                            State   ZIP Code




    6.   Why you are choosing                  Check one:                                                        Check one:
         this district to file for
         bankruptcy                            
                                               ✔ Over the last 180 days before filing this petition, I            Over the last 180 days before filing this petition, I
                                                     have lived in this district longer than in any other           have lived in this district longer than in any other
                                                     district.                                                      district.

                                                I have another reason. Explain.                                  I have another reason. Explain.
                                                     (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




         Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
Filed 12/31/20                                                               Case 20-13951                                                                           Doc 1
                     Jose Israel Ramirez
     Debtor 1         _______________________________________________________                            Case number (if known)_____________________________________
                      First Name   Middle Name             Last Name




     Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


     7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
           Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
           are choosing to file
           under
                                                 
                                                 ✔
                                                   Chapter 7
                                                  Chapter 11
                                                  Chapter 12
                                                  Chapter 13

     8.    How you will pay the fee               I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                    local court for more details about how you may pay. Typically, if you are paying the fee
                                                    yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                    submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                    with a pre-printed address.

                                                 
                                                 ✔ I need to pay the fee in installments. If you choose this option, sign and attach the

                                                    Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                  I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                    By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                    less than 150% of the official poverty line that applies to your family size and you are unable to
                                                    pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                    Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


    9.     Have you filed for          No
           bankruptcy within the
                                                             Eastern District of California                                           11-60721
                                                                                                               09/28/2011 Case number __________________
           last 8 years?              
                                      ✔
                                        Yes.        District ____________________________________________ When ______________


                                                    District ____________________________________________ When ______________ Case number __________________


                                                    District ____________________________________________ When ______________ Case number __________________




     10.   Are any bankruptcy              ✔ No
           cases pending or being
           filed by a spouse who is         Yes.
           not filing this case with
           you, or by a business
           partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
           affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                      Debtor _________________________________________________                         R elationship to you ___________________________

                                      District _______________________________________________ When _______________ Case number, if known__________________


    11.    Do you rent your                      
                                                 ✔ No.    Go to line 12.
           residence?                             Yes.   Has your landlord obtained an eviction judgment against you?


                                                              No. Go to line 12.
                                                              Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                               this bankruptcy petition.




           Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
Filed 12/31/20                                                                  Case 20-13951                                                                         Doc 1
                    Jose Israel Ramirez
    Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                     First Name       Middle Name             Last Name




    Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


    12.   Are you a sole proprietor                 
                                                    ✔ No. Go to Part 4.
          of any full- or part-time
          business?                                  Yes. Name and location of business
          A sole proprietorship is a
          business you operate as an                         _______________________________________________________________________________________
                                                             Name of business, if any
          individual, and is not a
          separate legal entity such as
          a corporation, partnership, or                     _______________________________________________________________________________________
                                                             Number    Street
          LLC.
          If you have more than one
                                                             _______________________________________________________________________________________
          sole proprietorship, use a
          separate sheet and attach it
          to this petition.                                  _______________________________________________        _______      __________________________
                                                              City                                                  State        ZIP Code


                                                             Check the appropriate box to describe your business:
                                                                Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                                Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                                Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                                None of the above

                                                    If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
          Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
          Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
          are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
          debtor or a debtor as
                                                    
                                                    ✔ No.    I am not filing under Chapter 11.
          defined by 11 U.S. C. §
          1182(1)?                                   No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                             the Bankruptcy Code.
          For a definition of small
          business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
          11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                     Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                       Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

    Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
    14.   Do you own or have any                    
                                                    ✔ No
          property that poses or is
          alleged to pose a threat                   Yes.    What is the hazard?
          of imminent and
          identifiable hazard to
          public health or safety?
          Or do you own any
          property that needs
                                                              If immediate attention is needed, why is it needed?
          immediate attention?
          For example, do you own
          perishable goods, or livestock
          that must be fed, or a building
          that needs urgent repairs?
                                                              Where is the property?




          Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
Filed 12/31/20                                                                Case 20-13951                                                                                Doc 1
                   Jose Israel Ramirez
    Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                    First Name     Middle Name             Last Name




    Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                                 About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
    15.   Tell the court whether
          you have received a
          briefing about credit                  You must check one:                                                You must check one:
          counseling.
                                                 
                                                 ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                    counseling agency within the 180 days before I                     counseling agency within the 180 days before I
          The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
          receive a briefing about credit           certificate of completion.                                         certificate of completion.
          counseling before you file for
                                                    Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
          bankruptcy. You must
                                                    plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
          truthfully check one of the
          following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
          cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
          eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                    certificate of completion.                                         certificate of completion.
          If you file anyway, the court
                                                    Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
          can dismiss your case, you
                                                    you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
          will lose whatever filing fee
                                                    plan, if any.                                                      plan, if any.
          you paid, and your creditors
          can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
          again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                    unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                    days after I made my request, and exigent                          days after I made my request, and exigent
                                                    circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                    of the requirement.                                                of the requirement.
                                                    To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                    requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                    what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                    you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                    bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                    required you to file this case.                                    required you to file this case.
                                                    Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                    dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                    briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                    If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                    still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                    You must file a certificate from the approved                      You must file a certificate from the approved
                                                    agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                    developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                    may be dismissed.                                                  may be dismissed.
                                                    Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                    only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                    days.                                                              days.

                                                  I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                    credit counseling because of:                                      credit counseling because of:

                                                     Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                       deficiency that makes me                                           deficiency that makes me
                                                                       incapable of realizing or making                                   incapable of realizing or making
                                                                       rational decisions about finances.                                 rational decisions about finances.
                                                     Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                       to be unable to participate in a                                   to be unable to participate in a
                                                                       briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                       through the internet, even after I                                 through the internet, even after I
                                                                       reasonably tried to do so.                                         reasonably tried to do so.
                                                     Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                       duty in a military combat zone.                                    duty in a military combat zone.
                                                    If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                    briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                    motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




           Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
Filed 12/31/20                                                                   Case 20-13951                                                                           Doc 1
                    Jose Israel Ramirez
    Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                     First Name     Middle Name             Last Name




     Pa rt 6 :     Answ e r T he se Que st ions for Re port ing Purpose s

                                                  16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    16.   What kind of debts do                        as “incurred by an individual primarily for a personal, family, or household purpose.”
          you have?
                                                          No. Go to line 16b.
                                                       
                                                       ✔   Yes. Go to line 17.

                                                  16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                       money for a business or investment or through the operation of the business or investment.
                                                          No. Go to line 16c.
                                                          Yes. Go to line 17.

                                                  16c. State the type of debts you owe that are not consumer debts or business debts.
                                                       _______________________________________________________________

    17.   Are you filing under
          Chapter 7?                               No.    I am not filing under Chapter 7. Go to line 18.

          Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
          any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
          excluded and                        No
                                             ✔
          administrative expenses
          are paid that funds will be         Yes
          available for distribution
          to unsecured creditors?

    18.   How many creditors do                   
                                                  ✔ 1-49                                      1,000-5,000                            25,001-50,000
          you estimate that you                    50-99                                     5,001-10,000                           50,001-100,000
          owe?                                     100-199                                   10,001-25,000                          More than 100,000
                                                   200-999
    19.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
          estimate your assets to                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
          be worth?                               
                                                  ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                                   $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
    20.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
          estimate your liabilities                $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
          to be?                                  
                                                  ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                                   $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
    Pa rt 7 :      Sign Be low

                                                  I have examined this petition, and I declare under penalty of perjury that the information provided is true and
    For you                                       correct.
                                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                  of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                  under Chapter 7.
                                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                  this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                  with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                  18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                   /s/ Jose Israel Ramirez
                                                     ______________________________________________               _____________________________
                                                     Signature of Debtor 1                                            Signature of Debtor 2

                                                                        12/29/2020
                                                     Executed on _________________                                    Executed on __________________
                                                                        MM   / DD   / YYYY                                          MM / DD     / YYYY




                Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
Filed 12/31/20                                                                 Case 20-13951                                                                              Doc 1
                   Jose Israel Ramirez
    Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                    First Name     Middle Name             Last Name




                                                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
    For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
    represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                                 the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
    If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
    by an attorney, you do not
    need to file this page.
                                                 _________________________________
                                                   /s/ Scott Bell                                                    Date          _________________
                                                                                                                                    12/29/2020
                                                    Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                      Scott Bell
                                                    _________________________________________________________________________________________________
                                                    Printed name

                                                      Law Offices of Scott Bell
                                                    _________________________________________________________________________________________________
                                                    Firm name

                                                     1331 L St.
                                                    _________________________________________________________________________________________________
                                                    Number Street

                                                    _________________________________________________________________________________________________

                                                     Bakersfield                                                     CA            93301
                                                    ______________________________________________________ ____________ ______________________________
                                                    City                                                    State        ZIP Code




                                                    Contact phone 661-243-1737
                                                                  ______________________________         Email address
                                                                                                                         s.bell@bell-law.net
                                                                                                                         _________________________________________



                                                     198387                                                          CA
                                                    ______________________________________________________ ____________
                                                    Bar number                                              State




               Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
Filed 12/31/20                                    Case 20-13951                                              Doc 1




                                                          Certificate Number: 03088-CAE-CC-034944766


                                                                         03088-CAE-CC-034944766




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on October 3, 2020, at 1:28 o'clock PM CDT, Jose I Ramirez
           received from Debt Education and Certification Foundation, an agency approved
           pursuant to 11 U.S.C. 111 to provide credit counseling in the Eastern District of
           California, an individual [or group] briefing that complied with the provisions of
           11 U.S.C. 109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by telephone.




           Date:   October 3, 2020                        By:      /s/Tania Roman


                                                          Name: Tania Roman


                                                          Title:   Counselor I




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
Filed 12/31/20                                                                           Case 20-13951                                                                                             Doc 1


      Fill in this information to identify your case:

      Debtor 1
                          Jose Israel Ramirez
                        __________________________________________________________________
                          First Name                      Middle Name                    Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                      Middle Name                    Last Name


                                              ______________________
      United States Bankruptcy Court for the: Eastern District of California District of __________
                                                                                                     (State)
      Case number         ___________________________________________                                                                                                           Check if this is an
                          (If known)                                                                                                                                              amended filing



    Official Form 106Sum
    Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                        12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.


     Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                           Your assets
                                                                                                                                                                           Value of what you own
     1. Schedule A/B: Property (Official Form 106A/B)
         1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 282,440.00
                                                                                                                                                                                 ________________



         1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 22,590.00
                                                                                                                                                                                 ________________


         1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                               $ 305,030.00
                                                                                                                                                                                 ________________



     Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                           Your liabilities
                                                                                                                                                                           Amount you owe
     2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
         2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 237,258.62
                                                                                                                                                                                 ________________


     3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                               $ 322.00
                                                                                                                                                                                 ________________
         3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

         3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                           +   $ 42,615.11
                                                                                                                                                                                 ________________


                                                                                                                                          Your total liabilities               $ 280,195.73
                                                                                                                                                                                 ________________



     Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


     4. Schedule I: Your Income (Official Form 106I)
         Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 2,876.26
                                                                                                                                                                                 ________________


     5. Schedule J: Your Expenses (Official Form 106J)
         Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 2,784.39
                                                                                                                                                                                 ________________




    Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
Filed 12/31/20                                                            Case 20-13951                                                                          Doc 1
                      Jose Ramirez
    Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                     First Name     Middle Name        Last Name




     Pa rt 4 :     Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

     6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
         Yes
         ✔




     7. What kind of debt do you have?

         Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
         ✔


               family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
               this form to the court with your other schedules.



     8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
        Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        5,471.74
                                                                                                                                           $ _________________




     9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                                Total claim


          From Part 4 on Schedule E/F, copy the following:

                                                                                                                              322.00
        9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                                   0.00
                                                                                                                $_____________________
        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                                   0.00
                                                                                                                $_____________________
        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                                   0.00
                                                                                                                $_____________________
        9d. Student loans. (Copy line 6f.)


        9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                                $_____________________
            priority claims. (Copy line 6g.)

                                                                                                                                   0.00
        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



        9g. Total. Add lines 9a through 9f.                                                                                   322.00
                                                                                                                $_____________________




        Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
Filed 12/31/20                                                                                      Case 20-13951                                                                                                                Doc 1


     Fill in this information to identify your case and this filing:

                         Jose Israel Ramirez
     Debtor 1
                         First Name               Middle Name                 Last Name

     Debtor 2
     (Spouse, if filing) First Name                 Middle Name                 Last Name


     United States Bankruptcy Court for the: Eastern District of
     California
                                                                                                                                                                                                                 Check if this is an
     Case number                                                                                                                                                                                                 amended filing
     (if know)



     Official Form 106A/B
     Schedule A/B: Property                                                                                                                                                                                                  12/15


     In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category
     where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
     supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and
     case number (if known). Answer every question.


     Part 1:            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
     1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
             No. Go to Part 2
             Yes. Where is the property?


                                                                                      What is the property? Check all that apply
                                                                                                                                                                     Do not deduct secured claims or exemptions. Put
         1.1 11107 Pocono Way                                                           Single-family home
                 Street address, if available, or other description                                                                                                  the amount of any secured claims on Schedule D:
                                                                                           Duplex or multi-unit building                                             Creditors Who Have Claims Secured by Property:
                                                                                           Condominium or cooperative
                                                                                                                                                                     Current value of the                Current value of the
                                                                                           Manufactured or mobile home                                               entire property?                    portion you own?
                 Bakersfield CA         93306
                                                                                           Land                                                                      $ 282,440.00                        $ 282,440.00
                 City        State      ZIP Code
                                                                                           Investment property
                                                                                                                                                                     Describe the nature of your ownership
                                                                                           Timeshare                                                                 interest (such as fee simple, tenancy by the
                 Kern County                                                               Other                                                                     entireties, or a life estate), if known.

                 Country                                                              Who has an interest in the property? Check one                                 Fee simple
                                                                                        Debtor 1 only
                                                                                           Debtor 2 only                                                                  Check if this is community property
                                                                                           Debtor 1 and Debtor 2 only
                                                                                           At least one of the debtors and another

                                                                                      Other information you wish to add about this item, such as local
                                                                                      property identification number:

      2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
          you have attached for Part 1. Write that number here...........................................................................................................................................➤             $ 282,440.00


     Part 2:            Describe Your Vehicles

     Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
     you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

      3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
                 No
                 Yes

        3.1 Make:Toyota                                                               Who has an interest in the property? Check one
                                                                                                                                                                    Do not deduct secured claims or exemptions. Put
                 Model:Tundra                                                           Debtor 1 only                                                               the amount of any secured claims onSchedule D:
                                                                                           Debtor 2 only                                                            Creditors Who Have Claims Secured by Property:
                 Year:                           2003
                                                                                           Debtor 1 and Debtor 2 only                                                  Current value of the                  Current value of the
                 Approximate mileage: 134,900
                                                                                           At least one of the debtors and another                                     entire property?                      portion you own?
                    Other information:
                   Condition:Fair;                                                        Check if this is community property (see                                     $ 4,725.00                            $ 4,725.00
                                                                                      instructions)




           Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
                                                                                                                                                                                                                          page 1 of 5
Filed 12/31/20                                                                                      Case 20-13951                                                                                                               Doc 1
    Debtor 1          Jose Israel Ramirez                                                                                                                             Case number(if known)
                     First Name          Middle Name         Last Name




      4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
           Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
              No
              Yes

          Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 4,725.00



     Part 3:         Describe Your Personal and Household Items

     Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                       portion you own?
      6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                        claims or exemptions.
             Examples: Major appliances, furniture, linens, china, kitchenware
                  No
                  Yes. Describe...

              Furniture and furnishings                                                                                                                                                                     $ 2,000.00
      7. Electronics
             Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                       collections; electronic devices including cell phones, cameras, media players, games

                  No
                  Yes. Describe...

              Miscellaneous Electronic Items                                                                                                                                                                $ 700.00
      8. Collectibles of value
             Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                       stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

                  No
                  Yes. Describe...
      9. Equipment for sports and hobbies
             Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                       and kayaks; carpentry tools; musical instruments

                  No
                  Yes. Describe...
      10. Firearms
             Examples: Pistols, rifles, shotguns, ammunition, and related equipment
                  No
                  Yes. Describe...
      11. Clothes
             Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
                  No
                  Yes. Describe...

              Wardrobe                                                                                                                                                                                      $ 400.00
      12. Jewelry
             Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                       gold, silver

                  No
                  Yes. Describe...

              Miscellaneous Jewelry                                                                                                                                                                         $ 150.00
      13. Non-farm animals
             Examples: Dogs, cats, birds, horses

                  No
                  Yes. Describe...




                                                                                                                                                                                                                         page 2 of 5
Filed 12/31/20                                                                                            Case 20-13951                                                                                                       Doc 1
    Debtor 1         Jose Israel Ramirez                                                                                                                                Case number(if known)
                    First Name            Middle Name           Last Name




      14. Any other personal and household items you did not already list, including any health aids you did not list
                 No
                 Yes. Give specific information...

     15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
          you have attached for Part 3. Write that number here...........................................................................................................................................➤             $ 3,250.00



     Part 4:        Describe Your Financial Assets

     Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                        portion you own?
                                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                                        claims or exemptions.
      16. Cash
            Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

                 No
                 Yes..............................................................................................................................................   Cash ...........................    $ 85.00
      17. Deposits of money
            Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                      and other similar institutions. If you have multiple accounts with the same institution, list each.

                 No
                 Yes..................                                   Institution name:
            17.1. Checking account:                                     Meta Bank                                                                                                                        $ 30.00

      18. Bonds, mutual funds, or publicly traded stocks
            Examples: Bond funds, investment accounts with brokerage firms, money market accounts

                 No
                 Yes..................
      19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
            LLC, partnership, and joint venture
                 No
                 Yes. Give specific information about them...........
      20. Government and corporate bonds and other negotiable and non-negotiable instruments
            Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
            Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
                 No
                 Yes. Give specific information about them..........
      21. Retirement or pension accounts
            Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

                 No
                 Yes. List each account separately
            Type of account                         Institution name
            401(k) or similar plan:                 401(K) @ Fidelity Investments                                                                                                                        $ 14,500.00
      22. Security deposits and prepayments
            Your share of all unused deposits you have made so that you may continue service or use from a company
            Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                       companies, or others

                 No
                 Yes.....................
      23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
                 No
                 Yes......................
      24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
            26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
                 No
                 Yes......................




                                                                                                                                                                                                                       page 3 of 5
Filed 12/31/20                                                                                     Case 20-13951                                                                                                           Doc 1
    Debtor 1          Jose Israel Ramirez                                                                                                                             Case number(if known)
                    First Name          Middle Name          Last Name




      25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
            for your benefit
                 No
             Yes. Give specific information about them...
      26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
            Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

                 No
                 Yes. Give specific information about them...
      27. Licenses, franchises, and other general intangibles
            Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

                 No
                 Yes. Give specific information about them...

     Money or property owed to you?                                                                                                                                                                    Current value of the
                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                                       claims or exemptions.
      28. Tax refunds owed to you
                 No
                 Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                                                                  Federal:                             $ 0.00
                                                                                                                                                                  State:                               $ 0.00
                                                                                                                                                                  Local:                               $ 0.00

      29. Family support
            Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

                 No
                 Yes. Give specific information....
      30. Other amounts someone owes you
            Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                      Social Security benefits; unpaid loans you made to someone else

                 No
                 Yes. Give specific information....
      31. Interests in insurance policies
                 No
                 Yes. Name the insurance company of each policy and list its value....
      32. Any interest in property that is due you from someone who has died
                 No
                 Yes. Give specific information....
      33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
                 No
                 Yes. Give specific information....
      34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
            claims
                 No
                 Yes. Give specific information....
      35. Any financial assets you did not already list
                 No
                 Yes. Give specific information...

     36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
          you have attached for Part 4. Write that number here...........................................................................................................................................➤         $ 14,615.00


     Part 5:        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

      37. Do you own or have any legal or equitable interest in any business-related property?
                 No. Go to Part 6.
                 Yes. Go to line 38.



                                                                                                                                                                                                                    page 4 of 5
Filed 12/31/20                                                                                              Case 20-13951                                                                                                         Doc 1
    Debtor 1            Jose Israel Ramirez                                                                                                                                             Case number(if known)
                      First Name            Middle Name           Last Name




                        Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
     Part 6:            If you own or have an interest in farmland, list it in Part 1.

      46. Do you own or have any legal or equitable interest in any business-related property?
                   No. Go to Part 7.
                   Yes. Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above
      53. Do you have other property of any kind you did not already list?
              Examples: Season tickets, country club membership

                   No
                   Yes. Give specific
                  information...

     54. Add the dollar value of all of your entries from Part 7. Write that number here                                                      ................................................➤
                                                                                                                                                                                                                            $ 0.00

     Part 8:          List the Totals of Each Part of this Form
      55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                        $ 282,440.00
      56. Part 2: Total vehicles, line 5                                                                                           $ 4,725.00
      57. Part 3: Total personal and household items, line 15                                                                      $ 3,250.00
      58. Part 4: Total financial assets, line 36                                                                                  $ 14,615.00
      59. Part 5: Total business-related property, line 45                                                                         $ 0.00
      60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
      61. Part 7: Total other property not listed, line 54                                                                    + $      0.00

      62. Total personal property. Add lines 56 through 61 ...................                                                      $ 22,590.00                          Copy personal property total➤          +$
                                                                                                                                                                                                                     22,590.00
      63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                          $ 305,030.00




                                                                                                                                                                                                                           page 5 of 5
Filed 12/31/20                                                                 Case 20-13951                                                                                         Doc 1

     Fill in this information to identify your case:

                          Jose Israel Ramirez
      Debtor 1          __________________________________________________________________
                          First Name                Middle Name                 Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                Middle Name                 Last Name


                                              ______________________
      United States Bankruptcy Court for the: Eastern District of California District of __________
                                                                                             (State)
      Case number
      (If known)
                          ___________________________________________                                                                                       Check if this is an
                                                                                                                                                               amended filing


    Official Form 106C
    Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                  4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
    Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
    space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
    your name and case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
    of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
    retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
    limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
    would be limited to the applicable statutory amount.


     Pa rt 1 :        I de nt ify the Prope rt y You Cla im a s Ex e mpt


     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
          
          ✔ You are claiming state and federal nonbankruptcy exemptions.                    11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


            Brief description of the property and line on           Current value of the                      Amount of the                  Specific laws that allow exemption
            Schedule A/B that lists this property                   portion you own                           exemption you claim

                                                                    Copy the value from                       Check only one box
                                                                    Schedule A/B                              for each exemption
                      11107 Pocono Way                                                                                                       Cal. Civ. Proc. Code § 704.730 (a)(2)
     Brief
     description:
                                                                            282,440.00
                                                                           $________________           
                                                                                                       ✔ $ ____________
                                                                                                           100,000.00
                                                                                                         100% of fair market value, up to
     Line from                                                                                              any applicable statutory limit
     Schedule A/B:         1.1
                      2003 Toyota Tundra                                                                                                     Cal. Civ. Proc. Code § 704.010
     Brief
     description:                                                          $________________
                                                                             4,725.00                   $ ____________
                                                                                                        ✔  3,325.00
                                                                                                         100% of fair market value, up to
     Line from                                                                                              any applicable statutory limit
     Schedule A/B:         3.1
                      Household goods - Furniture and furnishings                                                                            Cal. Civ. Proc. Code § 704.020
     Brief
     description:                                                          $________________
                                                                             2,000.00                  
                                                                                                       ✔ $ ____________
                                                                                                           2,000.00
                                                                                                         100% of fair market value, up to
     Line from                                                                                              any applicable statutory limit
     Schedule A/B:            6

     3. Are you claiming a homestead exemption of more than $170,350?
          (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          
          ✔     No
               Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes



    Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                                     page 1 of __
Filed 12/31/20                                                               Case 20-13951                                                                                   Doc 1
    Debtor           Jose Israel Ramirez
                     _______________________________________________________                            Case number (if known)_____________________________________
                     First Name      Middle Name          Last Name




      Pa rt 2 :     Addit iona l Pa ge

                description of the property and line
             Brief                                                                                 Amount of the                       Specific laws that allow exemption
                                                                            Current value of the   exemption you claim
             on Schedule A/B that lists this property                       portion you own
                                                                           Copy the value from    Check only one box
                                                                            Schedule A/B           for each exemption
                    Electronics - Miscellaneous Electronic Items                                                                        Cal. Civ. Proc. Code § 704.020
     Brief
     description:
                                                                              700.00
                                                                             $________________        700.00
                                                                                                   ✔ $ ____________

                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:         7
                    Clothing - Wardrobe                                                                                                 Cal. Civ. Proc. Code § 704.020
     Brief
     description:                                                            $________________
                                                                              400.00               
                                                                                                   ✔ $ ____________
                                                                                                       400.00
                                                                                                    100% of fair market value, up to
                                                                                                      any applicable statutory limit
     Line from
     Schedule A/B:         11
                    Jewelry - Miscellaneous Jewelry                                                                                     Cal. Civ. Proc. Code § 704.040
     Brief
     description:                                                            $________________
                                                                              150.00               
                                                                                                   ✔ $ ____________
                                                                                                       150.00
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:         12
                    401(K) @ Fidelity Investments                                                                                       Cal. Civ. Proc. Code § 704.115
     Brief
     description:                                                            $________________
                                                                              14,500.00            
                                                                                                   ✔ $ ____________
                                                                                                       14,500.00
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:           21

     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
                                                                                                      any applicable statutory limit
     Line from
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
                                                                                                      any applicable statutory limit
     Line from
     Schedule A/B:
     Brief
     description:                                                            $________________      $ ____________
                                                                                                    100% of fair market value, up to
     Line from                                                                                        any applicable statutory limit
     Schedule A/B:


      Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                2
                                                                                                                                                         page ___ of __  2
Filed 12/31/20                                                                           Case 20-13951                                                                                               Doc 1

      Fill in this information to identify your case:

                         Jose Israel Ramirez
      Debtor 1
                         First Name            Middle Name           Last Name

      Debtor 2
      (Spouse, if filing) First Name             Middle Name           Last Name


      United States Bankruptcy Court for the: Eastern District of California

      Case number
      (if know)                                                                                                                                                                    Check if this is an
                                                                                                                                                                                   amended filing



    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                        12/15


      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
      more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
      name and case number (if known).

     1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.



      Part 1:         List All Secured Claims

      2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for each claim. If      Column A               Column B               Column C
         more than one creditor has a particular claim, list the other creditors in Part 2. As much as possible, list the claims in   Amount of claim        Value of collateral    Unsecured
         alphabetical order according to the creditor’s name.                                                                         Do not deduct the      that supports this     portion If any
                                                                                                                                      value of collateral.   claim
     2.1                                                                            Describe the property that secures the claim: $ 237,258.62               $ 282,440.00           $ 0.00


              SN Servicing Corporation
                                                                                  11107 Pocono Way, Bakersfield, CA 93306 - $282,440.00
              Creditor’s Name
              323 5th St.
              Number        Street
                                                                                 As of the date you file, the claim is: Check all that
              Eureka CA          95501                                           apply.
              City      State    ZIP Code                                           Contingent
              Who owes the debt? Check one.                                         Unliquidated
                Debtor 1 only                                                       Disputed
                     Debtor 2 only
                     Debtor 1 and Debtor 2 only                                  Nature of lien. Check all that apply.
                     At least one of the debtors and another                        An agreement you made (such as mortgage or
                                                                                    secured car loan)
                     Check if this claim relates to a community                     Statutory lien (such as tax lien, mechanic’s lien)
                     debt                                                           Judgment lien from a lawsuit
                                                                                    Other (including a right to offset)
              Date debt was incurred
                                                                                 Last 4 digits of account number 7417

                       Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                                                                      $ 237,258.62



      Part 2:         List Others to Be Notified for a Debt That You Already Listed

       Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying to collect from
       you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that
       you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




    Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                                                              page 1 of 1
Filed 12/31/20                                                                           Case 20-13951                                                                                                      Doc 1

      Fill in this information to identify your case:

                          Jose Israel Ramirez
      Debtor 1
                          First Name              Middle Name        Last Name

      Debtor 2
      (Spouse, if filing) First Name                Middle Name        Last Name


      United States Bankruptcy Court for the: Eastern District of California

      Case number
      (if know)                                                                                                                                                                       Check if this is an
                                                                                                                                                                                      amended filing


    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                                    12/15

    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to any executory
    contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts
    and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by
    Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any
    additional pages, write your name and case number (if known).

      Part 1:         List All of Your PRIORITY Unsecured Claims
     1. Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type
         of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical
         order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list
         the other creditors in Part 3. (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                                    Total claim        Priority            Nonpriority
                                                                                                                                                                       amount              amount

     2.1                                                                         Last 4 digits of account number 0159                               $ 322.00           $ Unknown          $ 322.00
             Department of Child Support Services, County of Kern
                                                                                 When was the debt incurred? 2015
             Priority Creditor's Name
             3701 N. Sillect Ave                                                 As of the date you file, the claim is: Check all
             Number        Street                                                that apply.
             Bakersfield CA            93308                                        Contingent
             City           State      ZIP Code                                     Unliquidated
             Who owes the debt? Check one.                                          Disputed
               Debtor 1 only
                                                                                 Type of PRIORITY unsecured claim:
                    Debtor 2 only
                                                                                    Domestic support obligations
                    Debtor 1 and Debtor 2 only
                                                                                    Taxes and certain other debts you owe the
                    At least one of the debtors and another                         government
                 Check if this claim relates to a community                         Claims for death or personal injury while you were
                 debt                                                               intoxicated
             Is the claim subject to offset?                                        Other. Specify
                 No
                    Yes
      Part 2:         List All of Your NONPRIORITY Unsecured Claims

     3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing else to report in this part. Submit to the court with your other schedules.
            Yes. Fill in all of the information below.

      4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured claim, list the
         creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim,
         list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                                           Total claim




   Official Form 106E/F                                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                     page 1 of 5
             Jose Israel Ramirez
FiledDebtor
      12/31/20       First Name           Middle Name    Last Name               Case 20-13951                                  Case number(if known)            Doc 1


      4.1                                                               Last 4 digits of account number 2056
             BH Financial Group c/o Law Office of Kenosian & Miele                                                                                      $ 8,554.00
                                                                        When was the debt incurred?
             Nonpriority Creditor's Name
             8581 Santa Monica Blvd # 17                                As of the date you file, the claim is: Check all that apply.
             Number         Street                                         Contingent
             West Hollywood CA                90069                        Unliquidated
             City                   State     ZIP Code                     Disputed
             Who owes the debt? Check one.
               Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                                                                          Student loans
                    Debtor 2 only
                                                                           Obligations arising out of a separation agreement or divorce
                    Debtor 1 and Debtor 2 only                             that you did not report as priority claims
                    At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
                 Check if this claim relates to a community                debts
                 debt                                                      Other. Specify
             Is the claim subject to offset?
                 No
                    Yes
      4.2                                                               Last 4 digits of account number 400344******
             Capital One Bank Usa N                                                                                                                     $ 8,274.00
                                                                        When was the debt incurred? 2014
             Nonpriority Creditor's Name
             Po Box 31293                                               As of the date you file, the claim is: Check all that apply.
             Number         Street                                         Contingent
             Salt Lake City UT              84131                          Unliquidated
             City                 State     ZIP Code                       Disputed
             Who owes the debt? Check one.
               Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                    Debtor 2 only                                         Student loans
                    Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                    At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
                 Check if this claim relates to a community                debts
                 debt                                                      Other. Specify
             Is the claim subject to offset?
                 No
                    Yes

      4.3                                                               Last 4 digits of account number ****
             Cap One                                                                                                                                    $ 8,274.00
                                                                        When was the debt incurred? 2014
             Nonpriority Creditor's Name
             PO Box 30253                                               As of the date you file, the claim is: Check all that apply.
             Number         Street                                         Contingent
             Salt Lake City UT              84130                          Unliquidated
             City                 State     ZIP Code                       Disputed
             Who owes the debt? Check one.
               Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                    Debtor 2 only                                         Student loans
                    Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                    At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
                 Check if this claim relates to a community                debts
                 debt                                                      Other. Specify
             Is the claim subject to offset?
                 No
                    Yes




    Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 2 of 5
             Jose Israel Ramirez
FiledDebtor
      12/31/20       First Name            Middle Name   Last Name               Case 20-13951                                  Case number(if known)            Doc 1

      4.4                                                               Last 4 digits of account number ****
             Discover                                                                                                                                   $ 3,419.00
                                                                        When was the debt incurred? 2012
             Nonpriority Creditor's Name
             PO BOX 30943                                               As of the date you file, the claim is: Check all that apply.
             Number         Street                                         Contingent
             Salt Lake City UT              84130                          Unliquidated
             City                 State     ZIP Code                       Disputed
             Who owes the debt? Check one.
               Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                    Debtor 2 only                                         Student loans

                    Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                    At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
                 Check if this claim relates to a community                debts
                 debt                                                      Other. Specify
             Is the claim subject to offset?
                 No
                    Yes

      4.5                                                               Last 4 digits of account number 601100******
             Discover Fin Svcs Llc                                                                                                                      $ 3,419.00
                                                                        When was the debt incurred? 2012
             Nonpriority Creditor's Name
             Po Box 15316                                               As of the date you file, the claim is: Check all that apply.
             Number         Street                                         Contingent
             Wilmington DE                19850                            Unliquidated
             City            State        ZIP Code                         Disputed
             Who owes the debt? Check one.
               Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                    Debtor 2 only                                         Student loans

                    Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                    At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
                 Check if this claim relates to a community                debts
                 debt                                                      Other. Specify
             Is the claim subject to offset?
                 No
                    Yes

      4.6                                                               Last 4 digits of account number 119216***
             I.C. System, Inc                                                                                                                            $ 176.00
                                                                        When was the debt incurred? 2020
             Nonpriority Creditor's Name
             Po Box 64378                                               As of the date you file, the claim is: Check all that apply.
             Number         Street                                         Contingent
             Saint Paul MN            55164                                Unliquidated
             City           State     ZIP Code                             Disputed
             Who owes the debt? Check one.
               Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
                    Debtor 2 only                                         Student loans

                    Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
                    At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
                 Check if this claim relates to a community                debts
                 debt                                                      Other. Specify
             Is the claim subject to offset?
                 No
                    Yes




    Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 3 of 5
             Jose Israel Ramirez
FiledDebtor
      12/31/20       First Name        Middle Name   Last Name               Case 20-13951                                  Case number(if known)            Doc 1

      4.7                                                           Last 4 digits of account number 9286
             Jefferson Capital System                                                                                                                $ 126.91
                                                                    When was the debt incurred?
             Nonpriority Creditor's Name
             PO Box 1120                                            As of the date you file, the claim is: Check all that apply.
             Number         Street                                     Contingent
             Charlotte NC            28201                             Unliquidated
             City         State      ZIP Code                          Disputed
             Who owes the debt? Check one.
               Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
                                                                      Student loans
                    Debtor 2 only
                                                                       Obligations arising out of a separation agreement or divorce
                    Debtor 1 and Debtor 2 only
                                                                       that you did not report as priority claims
                    At least one of the debtors and another            Debts to pension or profit-sharing plans, and other similar
                 Check if this claim relates to a community            debts
                 debt                                                  Other. Specify
             Is the claim subject to offset?
                 No
                    Yes
      4.8                                                           Last 4 digits of account number 440682**
             Macys/Dsnb                                                                                                                             $ 1,102.00
                                                                    When was the debt incurred? 2009
             Nonpriority Creditor's Name
             Po Box 8218                                            As of the date you file, the claim is: Check all that apply.
             Number         Street                                     Contingent
             Mason OH             45040                                Unliquidated
             City       State     ZIP Code                             Disputed
             Who owes the debt? Check one.
               Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
                    Debtor 2 only                                     Student loans
                    Debtor 1 and Debtor 2 only                         Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
                    At least one of the debtors and another            Debts to pension or profit-sharing plans, and other similar
                 Check if this claim relates to a community            debts
                 debt                                                  Other. Specify
             Is the claim subject to offset?
                 No
                    Yes
      4.9                                                           Last 4 digits of account number BARCL-******73999556
             Portfolio Recov Assoc                                                                                                                  $ 9,045.00
                                                                    When was the debt incurred? 2019
             Nonpriority Creditor's Name
             140 Corporate Blvd, Ste. 1                             As of the date you file, the claim is: Check all that apply.
             Number         Street                                     Contingent
             Norfolk VA           23502                                Unliquidated
             City       State     ZIP Code                             Disputed
             Who owes the debt? Check one.
               Debtor 1 only                                        Type of NONPRIORITY unsecured claim:
                    Debtor 2 only                                     Student loans
                    Debtor 1 and Debtor 2 only                         Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
                    At least one of the debtors and another            Debts to pension or profit-sharing plans, and other similar
                 Check if this claim relates to a community            debts
                 debt                                                  Other. Specify
             Is the claim subject to offset?
                 No
                    Yes




    Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                    page 4 of 5
             Jose Israel Ramirez
FiledDebtor
      12/31/20       First Name        Middle Name   Last Name                       Case 20-13951                                        Case number(if known)                                Doc 1

      4.10                                                                 Last 4 digits of account number 1302
             South West Credit                                                                                                                                                        $ 225.20
                                                                           When was the debt incurred?
             Nonpriority Creditor's Name
             4120 Internation Parkway, Suite 1100                          As of the date you file, the claim is: Check all that apply.
             Number         Street                                            Contingent
             Carrollton TX           75007                                     Unliquidated
             City          State     ZIP Code                                  Disputed
             Who owes the debt? Check one.
               Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
                                                                             Student loans
                    Debtor 2 only
                                                                               Obligations arising out of a separation agreement or divorce
                    Debtor 1 and Debtor 2 only                                 that you did not report as priority claims
                    At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
                 Check if this claim relates to a community                    debts
                 debt                                                          Other. Specify
             Is the claim subject to offset?
                 No
                    Yes

       Part 3:        List Others to Be Notified About a Debt That You Already Listed

      5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is trying to
         collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor
         for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill
         out or submit this page.


       Part 4:        Add the Amounts for Each Type of Unsecured Claim

      6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
         Add the amounts for each type of unsecured claim.



                                                                                                                             Total claim

       Total claims          6a. Domestic support obligations                                                   6a.    $ 322.00
       from Part 1
                             6b. Taxes and certain other debts you owe the government                           6b.    $ 0.00

                             6c. Claims for death or personal injury while you were                             6c.    $ 0.00
                                 intoxicated
                             6d. Other. Add all other priority unsecured claims. Write that                     6d.    $ 0.00
                                 amount here.
                             6e. Total. Add lines 6a through 6d.                                                6e.
                                                                                                                         $ 322.00



                                                                                                                             Total claim

       Total claims          6f. Student loans                                                                  6f.    $ 0.00
       from Part 2
                             6g. Obligations arising out of a separation agreement or                           6g.    $ 0.00
                                 divorce that you did not report as priority claims
                             6h. Debts to pension or profit-sharing plans, and other similar                    6h.    $ 0.00
                                 debts
                             6i. Other. Add all other nonpriority unsecured claims. Write that                  6i.    $ 42,615.11
                                 amount here.
                             6j. Total. Add lines 6f through 6i.                                                6j.
                                                                                                                         $ 42,615.11




    Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 5 of 5
Filed 12/31/20                                                                Case 20-13951                                                                Doc 1

     Fill in this information to identify your case:


     Debtor 1
                        Jose Israel Ramirez
                         First Name        Middle Name            Last Name

     Debtor 2
     (Spouse, if filing) First Name          Middle Name            Last Name


     United States Bankruptcy Court for the: Eastern District of California

     Case number                                                                                                                        Check if this is an
     (if know)                                                                                                                          amended filing




    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of
    any additional pages, write your name and case number (if known).


    1. Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).


    2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
       (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
       contracts and unexpired leases.


          Person or company with whom you have the contract or lease                       State what the contract or lease is for




   Official Form 106G                                         Schedule G: Executory Contracts and Unexpired Leases                                  page 1 of 1
Filed 12/31/20                                                                  Case 20-13951                                                                    Doc 1

    Fill in this information to identify your case:


    Debtor 1
                      Jose Israel Ramirez
                         First Name       Middle Name            Last Name

    Debtor 2
    (Spouse, if filing) First Name          Middle Name            Last Name


    United States Bankruptcy Court for the: Eastern District of California

    Case number                                                                                                                                  Check if this is an
    (if know)                                                                                                                                    amended filing




   Official Form 106H
   Schedule H: Your Codebtors                                                                                                                                   12/15

   Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
   people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill
   it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your
   name and case number (if known). Answer every question.


     1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
          Yes
     2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
            Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes. In which community state or territory did you live? CA            . Fill in the name and current address of that person.

                 Vilma Ramirez
                 Name of your spouse, former spouse, or legal equivalent
                 3700 Fleetwood Dr.
                 Number        Street
                 Bakersfield                                                   CA      93305
                 City                                                          State   ZIP Code

     3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
        in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
        Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
        out Column 2.


           Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                     Check all schedules that apply:




    Official Form 106H                                                         Schedule H: Your Codebtors                                                 page 1 of 1
Filed 12/31/20                                                              Case 20-13951                                                                       Doc 1

     Fill in this information to identify your case:

                          Jose Israel Ramirez
     Debtor 1           ____________________________________________________________________
                         First Name              Middle Name                 Last Name

     Debtor 2            ____________________________________________________________________
     (Spouse, if filing) First Name              Middle Name                 Last Name


     United States Bankruptcy Court for the: ______________________
                                              Eastern District of CaliforniaDistrict
                                                                                          tate)
     Case number         ___________________________________________                                          Check if this is:
      (If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter 13
                                                                                                                 income as of the following date:
                                                                                                                 ________________
    Official Form 106I                                                                                           MM / DD / YYYY

    Sche dule I : Your I nc om e                                                                                                                           12/15

    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
    If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
    separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


     Pa rt 1 :         De sc ribe Em ployme nt


     1. Fill in your employment
        information.                                                               Debtor 1                                    Debtor 2 or non-filing spouse

        If you have more than one job,
        attach a separate page with                                             ✔ Employed
        information about additional           Employment status                                                                 Employed
        employers.                                                               Not employed                                    Not employed
        Include part-time, seasonal, or
        self-employed work.                                                     Driver
                                               Occupation                     __________________________________           __________________________________
        Occupation may include student
        or homemaker, if it applies.                                            Fresno Oxygen and Welding
                                               Employer’s name
                                                                                Supp
                                                                              __________________________________            __________________________________


                                               Employer’s address                2825 Elm Ave, Suite 101
                                                                              _______________________________________     ________________________________________
                                                                               Number Street                               Number    Street

                                                                              _______________________________________     ________________________________________

                                                                             _______________________________________      ________________________________________

                                                                                 Fresno, CA 93706
                                                                              _______________________________________     ________________________________________
                                                                               City            State  ZIP Code              City                State ZIP Code

                                               How long employed there?________________________
                                                                        5 Years                                             ________________________

     Pa rt 2 :         Give De t a ils About Mont hly I nc ome

        Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
        spouse unless you are separated.
        If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
        below. If you need more space, attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse
     2. List monthly gross wages, salary, and commissions (before all payroll
         deductions). If not paid monthly, calculate what the monthly wage would be.              2.       4,570.26
                                                                                                        $___________           $____________

     3. Estimate and list monthly overtime pay.                                                   3.   + $___________
                                                                                                                 0.00      +   $____________


     4. Calculate gross income. Add line 2 + line 3.                                              4.       4,570.26
                                                                                                        $__________            $____________




    Official Form 106I                                                    Schedule I: Your Income                                                      page 1
Filed 12/31/20Jose Israel Ramirez                                                          Case 20-13951                                                                                  Doc 1
     Debtor 1         _______________________________________________________                                                  Case number (if known)_____________________________________
                      First Name         Middle Name               Last Name

                                                                                                                              For Debtor 1         For Debtor 2 or
                                                                                                                                                   non-filing spouse

        Copy line 4 here ............................................................................................  4.        4,570.26
                                                                                                                               $___________            $_____________
     5. List all payroll deductions:

          5a. Tax, Medicare, and Social Security deductions                                                           5a.          902.00
                                                                                                                              $____________            $_____________
          5b. Mandatory contributions for retirement plans                                                            5b.          230.00
                                                                                                                              $____________            $_____________
          5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                              $____________            $_____________
          5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                              $____________            $_____________
          5e. Insurance                                                                                               5e.          136.00
                                                                                                                              $____________            $_____________
          5f. Domestic support obligations                                                                            5f.          426.00
                                                                                                                              $____________            $_____________
                                                                                                                                     0.00
                                                                                                                              $____________            $_____________
          5g. Union dues                                                                                              5g.
          5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                      0.00         +   $_____________
         _____________________________________________________________                                                        $____________            $____________
         _____________________________________________________________                                                        $____________            $____________
         _____________________________________________________________                                                        $____________            $____________

      6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        1,694.00
                                                                                                                              $____________            $____________
      7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        2,876.26
                                                                                                                              $____________            $____________


      8. List all other income regularly received:

          8a. Net income from rental property and from operating a business,
              profession, or farm
                Attach a statement for each property and business showing gross
                receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                              $____________            $_____________
                monthly net income.                                                                                   8a.
          8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                              $____________            $_____________
          8c. Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
                Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                              $____________            $_____________
                settlement, and property settlement.                                                                  8c.
          8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                              $____________            $_____________
          8e. Social Security                                                                                         8e.            0.00
                                                                                                                              $____________            $_____________
          8f. Other government assistance that you regularly receive
              Include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                              $____________            $_____________

          8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                              $____________            $_____________

          8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                      0.00         + $_____________
      9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                              $____________            $_____________

     10. Calculate monthly income. Add line 7 + line 9.
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                                 2,876.26
                                                                                                                              $___________     +       $_____________      =      2,876.26
                                                                                                                                                                               $_____________

     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
         friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                                   0.00
     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                                  2,876.26
                                                                                                                                                                               $_____________
         Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                               Combined
                                                                                                                                                                               monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
           
           ✔    No.
               Yes. Explain:


       Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
Filed 12/31/20                                                                Case 20-13951                                                                           Doc 1

      Fill in this information to identify your case:

                         Jose Israel Ramirez
      Debtor 1          __________________________________________________________________
                          First Name              Middle Name                 Last Name                           Check if this is:
      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                                   An amended filing
                                              Eastern District of California
                                                                                                                   A supplement showing postpetition chapter 13
      United States Bankruptcy Court for the: ______________________         District of __________                   expenses as of the following date:
                                                                                          (State)
                                                                                                                      ________________
      Case number         ___________________________________________                                                 MM / DD / YYYY
      (If known)




    Official Form 106J
    Schedule J: Your Expenses                                                                                                                                   12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.

     Part 1:            Describe Your Household

    1. Is this a joint case?

       ✔ No. Go to line 2.
       
        Yes. Does Debtor 2 live in a separate household?
                        No
                        Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

    2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s   Does dependent live
       Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                              Debtor 1 or Debtor 2                     age           with you?
       Debtor 2.                                    each dependent..........................
       Do not state the dependents’                                                             Daughter                                 18            No
                                                                                               _________________________                ________
       names.                                                                                                                                         
                                                                                                                                                      ✔ Yes

                                                                                               _________________________                ________       No
                                                                                                                                                       Yes
                                                                                               _________________________                ________       No
                                                                                                                                                       Yes
                                                                                               _________________________                ________       No
                                                                                                                                                       Yes
                                                                                               _________________________                ________       No
                                                                                                                                                       Yes
    3. Do your expenses include
       expenses of people other than
                                                   No
       yourself and your dependents?               Yes

    Part 2:         Estimate Your Ongoing Monthly Expenses

    Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
    expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
    applicable date.
    Include expenses paid for with non-cash government assistance if you know the value of
    such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

     4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                      1,254.39
                                                                                                                                          $_____________________
         any rent for the ground or lot.                                                                                          4.

         If not included in line 4:
                                                                                                                                                           0.00
         4a.    Real estate taxes                                                                                                 4a.     $_____________________
         4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                           0.00
                                                                                                                                          $_____________________
         4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                     50.00
                                                                                                                                          $_____________________
         4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                          $_____________________

      Official Form 106J                                             Schedule J: Your Expenses                                                              page 1
Filed 12/31/20                                                             Case 20-13951                                                                      Doc 1

                        Jose Israel Ramirez
    Debtor 1           _______________________________________________________                   Case number (if known)_____________________________________
                       First Name     Middle Name        Last Name




                                                                                                                            Your expenses

                                                                                                                           $_____________________
                                                                                                                                            0.00
     5. Additional mortgage payments for your residence, such as home equity loans                                  5.


     6. Utilities:

            6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                         240.00
            6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                          70.00
            6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                         170.00
            6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                            0.00
     7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                         450.00
     8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                            0.00
     9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                         105.00
    10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                          70.00
    11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                          50.00
    12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                           $_____________________
                                                                                                                                         250.00
           Do not include car payments.                                                                             12.

    13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                          75.00
    14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                            0.00
                                                                                                                                                          1
    15.     Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.

            15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                            0.00
            15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                            0.00
            15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                            0.00
            15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                            0.00

   16.     Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify: ________________________________________________________                                       16.
                                                                                                                                           0.00
                                                                                                                           $_____________________

    17.    Installment or lease payments:

            17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                            0.00
            17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                            0.00
            17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                            0.00
            17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                            0.00

    18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
           your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                           $_____________________

    19.    Other payments you make to support others who do not live with you.
           Specify:_______________________________________________________                                           19.
                                                                                                                                            0.00
                                                                                                                           $_____________________

    20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

            20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                            0.00
            20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                            0.00
            20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                            0.00
            20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                            0.00
            20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                            0.00


          Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
Filed 12/31/20                                                           Case 20-13951                                                                        Doc 1

                       Jose Israel Ramirez
    Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                      First Name    Middle Name        Last Name




    21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                       21.   +$_____________________
    ______________________________________________________________________________________                                   +$_____________________
    ______________________________________________________________________________________                                   +$_____________________
    22.     Calculate your monthly expenses.

            22a. Add lines 4 through 21.                                                                             22a.                 2,784.39
                                                                                                                              $_____________________

            22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

            and 22b. The result is your monthly expenses.                                                            22c.                 2,784.39
                                                                                                                              $_____________________


    23. Calculate your monthly net income.
                                                                                                                                           2,876.26
                                                                                                                               $_____________________
          23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

          23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 2,784.39
                                                                                                                             – $_____________________

          23c.   Subtract your monthly expenses from your monthly income.                                                                     91.87
                                                                                                                               $_____________________
                 The result is your monthly net income.                                                               23c.



    24. Do you expect an increase or decrease in your expenses within the year after you file this form?

           For example, do you expect to finish paying for your car loan within the year or do you expect your
           mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
          ✔
             Yes.      Explain here:




          Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
Filed 12/31/20                                                               Case 20-13951                                                                        Doc 1

   Fill in this information to identify your case:

                     Jose Israel Ramirez
   Debtor 1          __________________________________________________________________
                       First Name              Middle Name                Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name                Last Name


                                           ______________________
   United States Bankruptcy Court for the:Eastern District of California District of __________
                                                                                      (State)
   Case number         ___________________________________________                                                                                Check if this is an
    (If known)                                                                                                                                       amended filing



     Official Form 108
     St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

     If you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
     You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
     whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
     If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
     Both debtors must sign and date the form.
     Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
     write your name and case number (if known).

       Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

       1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
          information below.

              Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                           secures a debt?                                   as exempt on Schedule C?

             Creditor’s                                                                    Surrender the property.                           No
             name:           SN Servicing Corporation
                                                                                           Retain the property and redeem it.                Yes
            Description of          11107 Pocono Way
            property                                                                      
                                                                                          ✔ Retain the property and enter into a

            securing debt:                                                                      Reaffirmation Agreement.
                                                                                           Retain the property and [explain]:
                                                                                                ______________________________________


            Creditor’s                                                                     Surrender the property.                           No
            name:
                                                                                           Retain the property and redeem it.                Yes
            Description of
            property                                                                       Retain the property and enter into a
            securing debt:                                                                      Reaffirmation Agreement.
                                                                                           Retain the property and [explain]:
                                                                                                ______________________________________

            Creditor’s                                                                     Surrender the property.                           No
            name:
                                                                                           Retain the property and redeem it.                Yes
            Description of
            property                                                                       Retain the property and enter into a
            securing debt:                                                                      Reaffirmation Agreement.
                                                                                           Retain the property and [explain]:
                                                                                                ______________________________________

            Creditor’s                                                                     Surrender the property.                           No
            name:
                                                                                           Retain the property and redeem it.                Yes
            Description of
            property                                                                       Retain the property and enter into a
            securing debt:                                                                      Reaffirmation Agreement.
                                                                                           Retain the property and [explain]:
                                                                                                ______________________________________


     Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
Filed 12/31/20                                                         Case 20-13951                                                                     Doc 1
                         Jose Israel Ramirez
    Debtor              ______________________________________________________                   Case number (If known)_____________________________________




     Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

     For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
     fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
     ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

             Describe your unexpired personal property leases                                                            Will the lease be assumed?

             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:


             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:


             Lessor’s name:                                                                                              No
             Description of leased                                                                                       Yes
             property:


             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:


             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:


             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:


             Lessor’s name:                                                                                              No
                                                                                                                         Yes
             Description of leased
             property:




     Pa rt 3 :          Sign Be low



        Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
        personal property that is subject to an unexpired lease.



      /s/ Jose Israel Ramirez
             ___________________________________________             ___________________________________________
         Signature of Debtor 1                                         Signature of Debtor 2

                 12/29/2020
         Date _________________                                        Date _________________
                 MM /    DD   /   YYYY                                      MM /   DD /   YYYY




     Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
Filed 12/31/20                                                                         Case 20-13951                                                                                               Doc 1


     Fill in this information to identify your case:

                        Jose Israel Ramirez
     Debtor 1
                        First Name            Middle Name         Last Name

     Debtor 2
     (Spouse, if filing) First Name             Middle Name         Last Name


     United States Bankruptcy Court for the: Eastern District of California

     Case number
     (if know)                                                                                                                                                                    Check if this is an
                                                                                                                                                                                  amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                                               4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
    a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


     Part 1:       Give Details About Your Marital Status and Where You Lived Before

     1. What is your current marital status?
           Married
           Not married

     2. During the last 3 years, have you lived anywhere other than where you live now?
           No
           Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

     3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states
        and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No
           Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

     Part 2:       Explain the Sources of Your Income

     4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
        Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
        If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
           No
           Yes. Fill in the details.

                                                                                Debtor 1                                                     Debtor 2


                                                                                Sources of income            Gross income                    Sources of income                Gross income
                                                                                Check all that apply         (before deductions and          Check all that apply             (before deductions and
                                                                                                             exclusions)                                                      exclusions)

             From January 1 of current year until the date you filed
             for bankruptcy:                                                        Wages, commissions,                                          Wages, commissions,
                                                                                                        $ 64,139.41                              bonuses, tips            $
                                                                                    bonuses, tips
                                                                                    Operating a business                                         Operating a business



             For last calendar year:
                                                                                    Wages, commissions,                                          Wages, commissions,
                                                                                                        $ 57,535.00                              bonuses, tips            $
             (January 1 to December 31, 2019                                        bonuses, tips
                                                                                    Operating a business                                         Operating a business



             For last calendar year:
                                                                                    Wages, commissions,                                          Wages, commissions,
                                                                                                        $ 58,260.00                              bonuses, tips            $
             (January 1 to December 31, 2018                                        bonuses, tips
                                                                                    Operating a business                                         Operating a business



     5. Did you receive any other income during this year or the two previous calendar years?
       Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public
       benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case
       and you have income that you received together, list it only once under Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

    Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                      page 1 of 5
Filed 12/31/20                                                                      Case 20-13951                                                                                       Doc 1
    Debtor          Jose Israel Ramirez                                                                                                  Case number(if known)
                   First Name       Middle Name      Last Name




     Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

    6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

             No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts.Consumer debts are defined in 11 U.S.C. § 101(8)
                 as
                 “incurred by an individual primarily for a personal, family, or household purpose.”

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments
                        and
                        the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                        as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

             Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                  During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No. Go to line 7.

                         Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid
                              that
                              creditor. Do not include payments for domestic support obligations, such as child support and
                              alimony. Also, do not include payments to an attorney for this bankruptcy case.


    7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?Insiders include your
       relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer,
       director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
       proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.
             No.
             Yes. List all payments to an insider.

    8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.
             No.
             Yes. List all payments that benefited an insider.



     Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

    9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract disputes.
             No
             Yes. Fill in the details.

                                                                      Nature of the case                      Court or agency                                        Status of the case


        Case title:                                                                                                                                                       Pending
        BH Financial Vs. Jose Ramirez                                 Breach of Contract; Date filed:
                                                                      03/13/2020                             Superior Court of California, County of Kern                 On appeal
        Case number: BCL-20-012056
                                                                                                             Court Name                                                   Concluded
                                                                                                             1401 Truxtun Ave.
                                                                                                             Number     Street
                                                                                                             Bakersfield CA      93301
                                                                                                             City        State   ZIP Code


    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.
             No. Go to line 11.
             Yes. Fill in the information below.


    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
             No
             Yes. Fill in the details




    Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 2 of 5
Filed 12/31/20                                                                        Case 20-13951                                                                                  Doc 1
    Debtor            Jose Israel Ramirez                                                                                                 Case number(if known)
                     First Name       Middle Name      Last Name




    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
        appointed receiver, a custodian, or another official?
             No
             Yes


     Part 5:          List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
             No
             Yes. Fill in the details for each gift.

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
             No
             Yes. Fill in the details for each gift or contribution.



     Part 6:          List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?
             No
             Yes. Fill in the details.



     Part 7:          List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
             No
             Yes. Fill in the details.

                                                                           Description and value of any property transferred                      Date payment or     Amount of
                                                                                                                                                  transfer was made   payment
                                                                                                                                                  10/2020             $ 1,550.00
              Law Office of Scott Bell                                                                                                                                $
              Person Who Was Paid
              1331 L St.
              Number         Street
              Bakersfield CA          93301
              City            State   ZIP Code


              Email or website address


              Person Who Made the Payment, if Not You



    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.
             No
             Yes. Fill in the details.

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred
        in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
        Do not include gifts and transfers that you have already listed on this statement.
             No
             Yes. Fill in the details.

    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary?(These are often called asset-protection devices.)
             No
             Yes. Fill in the details.



     Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units




    Official Form 107                                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3 of 5
Filed 12/31/20                                                                        Case 20-13951                                                                     Doc 1
    Debtor           Jose Israel Ramirez                                                                                                 Case number(if known)
                    First Name      Middle Name     Last Name




    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
        closed, sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
        brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
             No
             Yes. Fill in the details.

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
        securities, cash, or other valuables?
             No
             Yes. Fill in the details.

    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
             No
             Yes. Fill in the details.



     Part 9:         Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
        or hold in trust for someone.
             No
             Yes. Fill in the details.



     Part 10:        Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

        Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
        hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
        including statutes or regulations controlling the cleanup of these substances, wastes, or material.
        Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
        it or used to own, operate, or utilize it, including disposal sites.
        Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
        substance, hazardous material, pollutant, contaminant, or similar term.
    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
             No
             Yes. Fill in the details.

    25. Have you notified any governmental unit of any release of hazardous material?
             No
             Yes. Fill in the details.

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
             No
             Yes. Fill in the details.



     Part 11:        Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                  A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                  A member of a limited liability company (LLC) or limited liability partnership (LLP)

                  A partner in a partnership

                  An officer, director, or managing executive of a corporation

                  An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.

    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.
             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.



    Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 4 of 5
Filed 12/31/20                                                                 Case 20-13951                                                                         Doc 1
    Debtor         Jose Israel Ramirez                                                                                             Case number(if known)
                  First Name      Middle Name   Last Name




     Part 12:       Sign Below

        I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
        answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
        in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
        18 U.S.C. §§ 152, 1341, 1519, and 3571.

             /s/ Jose Israel Ramirez
             Signature of Debtor 1                                              Signature of Debtor 2

             Date 12/29/2020                                                    Date

        Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

             No
             Yes. Name of person                                                                          Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                          Declaration, and Signature (Official Form 119).




    Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 5 of 5
Filed 12/31/20                                                                Case 20-13951                                                                                Doc 1
      Fill in this information to identify your case:                                                        Check one box only as directed in this form and in
                                                                                                             Form 122A-1Supp:
      Debtor 1         Jose  Israel Ramirez
                       __________________________________________________________________
                          First Name               Middle Name                 Last Name
                                                                                                             
                                                                                                             ✔   1. There is no presumption of abuse.
      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name               Middle Name                 Last Name                        2. The calculation to determine if a presumption of
                                                                                                                    abuse applies will be made under Chapter 7
     United States Bankruptcy Court for the: ____________  District
                                             Eastern District of of  _______________
                                                                    California                                      Means Test Calculation (Official Form 122A–2).
     Case number         ___________________________________________                                            3. The Means Test does not apply now because of
      (If known)
                                                                                                                    qualified military service but it could apply later.


                                                                                                              Check if this is an amended filing

    Official Form 122A─1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                04/20

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
    space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
    additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
    do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
    Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

        Part 1:         Calculate Your Current Monthly Income

        1. What is your marital and filing status? Check one only.
             
             ✔     Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

                  Married and your spouse is NOT filing with you. You and your spouse are:
                        Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                        Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                         under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                         spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
             Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
             bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
             August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
             Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
             income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A             Column B
                                                                                                               Debtor 1             Debtor 2 or
                                                                                                                                    non-filing spouse
        2. Your gross wages, salary, tips, bonuses, overtime, and commissions
           (before all payroll deductions).                                                                       5,471.74
                                                                                                                 $_________            0.00
                                                                                                                                      $__________

        3. Alimony and maintenance payments. Do not include payments from a spouse if
           Column B is filled in.                                                                                 0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________

        4. All amounts from any source which are regularly paid for household expenses
           of you or your dependents, including child support. Include regular contributions
           from an unmarried partner, members of your household, your dependents, parents,
           and roommates. Include regular contributions from a spouse only if Column B is not
           filled in. Do not include payments you listed on line 3.                                               0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________

        5. Net income from operating a business, profession,
                                                                              Debtor 1     Debtor 2
           or farm
           Gross receipts (before all deductions)                                 0.00
                                                                                 $______    0.00
                                                                                           $______
             Ordinary and necessary operating expenses                           0.00 – $______
                                                                              – $______  0.00
                                                                                                      Copy
             Net monthly income from a business, profession, or farm              0.00
                                                                                 $______    0.00
                                                                                           $______ here          0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________

        6. Net income from rental and other real property                     Debtor 1     Debtor 2
           Gross receipts (before all deductions)                                 0.00
                                                                                 $______    0.00
                                                                                           $______
             Ordinary and necessary operating expenses                           0.00 – $______
                                                                              – $______  0.00
                                                                                                      Copy
             Net monthly income from rental or other real property               $______    0.00
                                                                                           $______ here          0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________
       7. Interest, dividends, and royalties                                                                      0.00
                                                                                                                 $_________            0.00
                                                                                                                                      $__________



     Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                      page 1
Filed 12/31/20                                                                                              Case 20-13951                                                                                Doc 1


    Debtor 1          Jose  Israel Ramirez
                      _______________________________________________________                                                    Case number (if known)_____________________________________
                      First Name              Middle Name                      Last Name



                                                                                                                                       Column A                    Column B
                                                                                                                                       Debtor 1                    Debtor 2 or
                                                                                                                                                                   non-filing spouse

       8. Unemployment compensation                                                                                                        0.00
                                                                                                                                         $__________                    0.00
                                                                                                                                                                      $___________
           Do not enter the amount if you contend that the amount received was a benefit
           under the Social Security Act. Instead, list it here: ................................ 
               For you ..................................................................................     0.00
                                                                                                            $______________
               For your spouse ..................................................................             0.00
                                                                                                            $______________
       9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act. Also, except as stated in the next sentence, do
          not include any compensation, pension, pay, annuity, or allowance paid by the United
          States Government in connection with a disability, combat-related injury or disability, or
          death of a member of the uniformed services. If you received any retired pay paid
          under chapter 61 of title 10, then include that pay only to the extent that it does not
          exceed the amount of retired pay to which you would otherwise be entitled if retired
          under any provision of title 10 other than chapter 61 of that title.                                                             0.00
                                                                                                                                         $__________                    0.00
                                                                                                                                                                      $___________
       10. Income from all other sources not listed above. Specify the source and amount. Do
           not include any benefits received under the Social Security Act; payments made under
           the Federal law relating to the national emergency declared by the President under the
           National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
           disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
           against humanity, or international or domestic terrorism; or compensation, pension,
           pay, annuity, or allowance paid by the United States Government in connection with a
           disability, combat-related injury or disability, or death of a member of the uniforces. If
           necessary, list other sources on a separate page and put the total below.

           ______________________________________                                                                                          0.00
                                                                                                                                         $_________                     0.00
                                                                                                                                                                      $___________
           ______________________________________                                                                                          0.00
                                                                                                                                         $_________                     0.00
                                                                                                                                                                      $___________

           Total amounts from separate pages, if any.                                                                                + $_________
                                                                                                                                        0.00                       + $___________
                                                                                                                                                                       0.00


       11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                   5,471.74             +        0.00              =    5,471.74
           column. Then add the total for Column A to the total for Column B.                                                            $_________                   $___________            $__________
                                                                                                                                                                                              Total current
                                                                                                                                                                                              monthly income
       Part 2:          Determine Whether the Means Test Applies to You

       12. Calculate your current monthly income for the year. Follow these steps:
           12a.      Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here        $__________
                                                                                                                                                                                            5,471.74

                     Multiply by 12 (the number of months in a year).                                                                                                                     x 12
           12b.      The result is your annual income for this part of the form.                                                                                                   12b.     65,660.88
                                                                                                                                                                                          $__________

       13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                                                                   CA

           Fill in the number of people in your household.                                                  2

                                                                                                                                                                                            82,418.00
                                                                                                                                                                                          $__________
           Fill in the median family income for your state and size of household. ................................................................................................. 13.
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk’s office.


       14. How do the lines compare?


                ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
           14a. 
                         Go to Part 3. Do NOT fill out or file Official Form 122A-2.


           14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A–2.


    Official Form 122A-1                                                Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
Filed 12/31/20                                                          Case 20-13951                                                                           Doc 1


    Debtor 1     Jose  Israel Ramirez
                 _______________________________________________________                              Case number (if known)_____________________________________
                 First Name      Middle Name         Last Name



       Part 3:     Sign Below

                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                   /s/ Jose Israel Ramirez
                       __________________________________________________________                   ______________________________________
                       Signature of Debtor 1                                                         Signature of Debtor 2

                           12/29/2020
                      Date _________________                                                         Date _________________
                           MM / DD / YYYY                                                                 MM / DD / YYYY


                       If you checked line 14a, do NOT fill out or file Form 122A–2.
                       If you checked line 14b, fill out Form 122A–2 and file it with this form.
    ¯¯¯¯¯




    Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
Filed 12/31/20                                                             Case 20-13951                                                                          Doc 1

   Fill in this information to identify your case:

   Debtor 1            Jose Israel Ramirez
                      __________________________________________________________________
                       First Name              Middle Name              Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name              Last Name


                                           ______________________
   United States Bankruptcy Court for the:Eastern District of California District of __________
                                                                                    (State)
   Case number         ___________________________________________
    (If known)
                                                                                                                                              Check if this is an
                                                                                                                                                 amended filing


     Official Form 106Dec
     De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                         12/15

     If two married people are filing together, both are equally responsible for supplying correct information.

     You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
     obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
     years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Be low



          Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          
          ✔      No
                Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




          Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
          that they are true and correct.




        /s/ Jose Israel Ramirez
             ______________________________________________           _____________________________
            Signature of Debtor 1                                          Signature of Debtor 2


                 12/29/2020
            Date _________________                                         Date _________________
                   MM /    DD       /   YYYY                                        MM / DD /   YYYY




     Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules
Filed 12/31/20
         B2030 (Form 2030) (12/15)                                         Case 20-13951                                                                 Doc 1


                                            United States Bankruptcy Court
                                                                    Eastern District of California
                                                     __________________________________
           In re   Jose Israel Ramirez

                                                                                                                   Case No. _______________

          Debtor                                                                                                    Chapter________________
                                                                                                                            7



                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

          1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
             above named debtor(s) and that compensation paid to me within one year before the filing of the
             petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
             the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

      ✔   FLAT FEE
                                                                                                                               1,550.00
                For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                       1,550.00


                Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                         0.00


           RETAINER
                For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

                The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
                [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
                approved fees and expenses exceeding the amount of the retainer.

          2. The source of the compensation paid to me was:
                       Debtor                                 Other (specify)

          3. The source of compensation to be paid to me is:
                       Debtor                                 Other (specify)

          4.         I have not agreed to share the above-disclosed compensation with any other person unless they
               are members and associates of my law firm.

                    I have agreed to share the above-disclosed compensation with a other person or persons who
          are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
          of the people sharing the compensation is attached.
          5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
             bankruptcy case, including:
               a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
                  whether to file a petition in bankruptcy;
               b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
                  required;
               c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
                  adjourned hearings thereof;
Filed 12/31/20                                                   Case 20-13951                                                                     Doc 1
          B2030 (Form 2030) (12/15)
               d. [Other provisions as needed]
         Fee includes one (1) appearance at a 341 Meeting of Creditors. Additional appearances will be charged at a rate of $200.00 per meeting.




         6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
         Adversary proceedings.
Filed 12/31/20                                     Case 20-13951                                             Doc 1




                                                       CERTIFICATION
                  I certify that the foregoing is a complete statement of any agreement or arrangement for
                      payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                 _____________________
                   12/29/2020
                                                   _________________________________________
                                                    /s/ Scott Bell, 198387

                 Date                                    Signature of Attorney
                                                   _________________________________________
                                                    Law Offices of Scott Bell

                                                        ​Name of law firm
                                                    1331 L St.
                                                    Bakersfield, CA 93301
                                                    661-243-1737
                                                    s.bell@bell-law.net
